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LAWCLEMLE M. RUSSELL 294 13-055
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PD Box 15b0

BYTNER, NL 24707-1500

 

 

MARY €. LOEWEN GUTH - CLERK OF COUT.
UNITED STATED COURTHOUSE
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FEBRUARY F202)
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L WRITING TWOUAY JUST 10 RECEIVE A STATUS VpDATE

ON MY 2259 (REPLY 10 THE (OVERNMENT ) MOTION 7b
VACATE ar DR CORKLLT TUL. SENTONEE..

THAT WAS FILCD WITH TUE COURTS ON MOVEMBER 3, ZOZ0.

 

THANK 70,
LAWIANLE M Oy SLL”

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